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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 NELLY LEONG,
                                                    Case No. 21-cv-01291-VC
                Plaintiff,

         v.                                         ORDER OF DISMISSAL

 INTERNATIONAL BUSINESS
 MACHINES CORPORATION (IBM),
                Defendant.



       The Court has been advised that the parties have resolved this case through mediation.

Therefore, it is ORDERED that this case is DISMISSED without prejudice. All deadlines and

hearings in the case are vacated. Any pending motions are moot.

       The parties retain the right to reopen this action within 60 days of this Order if the

settlement is not consummated. If a request to reinstate the case is not filed and served on

opposing counsel within 60 days, the dismissal will be with prejudice.

       IT IS SO ORDERED.

Dated: July 18, 2022

                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
